Case 4:10-cv-10338-FDS Document 3 Filed 03/26/10 Page 1 of 7

UNI'I`ED STATES DISTRICT COURT
DISTRICT OF MASSACHUSE'I`TS

 

D°iphusphllhps’ § CivtlAction No.: 10-cv-10333(FDS)

Plaintiff,
v.

Assoc'lated i{ecovery Systems, Inc.; and DOES : FIRST AMENDED COMPLA!NT
l -10, mclusive, :

Defendants.

 

Pursuant to Fed. R. Civ. P. 15(a)(l)(A) Plaintiff files his First Amended Cornpiaint as a
matter of course Plaintifi"s initial complaint Was served on l\/Iarch 10, 2010. For his Amended

Cornplaint, the Plaintiff, Dolphus Phillips, by undersigned counsel, states as follows:

JURISDICTION

l. This action arises out of Defendants’ repeated violations of the Fair Debt
Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the invasions of Plaintift’s
personal privacy by the Defendants and its agents in their illegal efforts to collect a consumer
debt. l

2. Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

3. Venue is proper in this District pursuant to 28 U.S.C. § l39l(b), in that the
Defendants transact business in this District and a substantial portion of the acts giving rise to

this action occurred in this District.-

PARTIES

4. The Plaintiff, Doiphus Phiilips (“Plaintift”), is an adult individual residing in

Worchester, MA, and is a “consumei"’ as the term is defined by 15 U.S.C. § 1692a(3).

Case 4:10-cv-10338-FDS Document 3 Filed 03/26/10 Page 2 of 7

5. The Defendant, Associated Recovery Systems, Inc. (“Associated”), is a California
business entity with an address of 201 W Gi'and Ave, Escondido, CA 92025-2603, operating as a
coliection agency, and is a “debt coilector” as the term is defined by 15 U.S.C. § l692a(6).

6. Does l~l(} (the “Collectors”) are individual collectors employed by Associated
and whose identities are currently unknown to the Plaintiff. One or more of the Collectors may
be joined as parties once their identities are disclosed through discovery.

7. Associated at all times acted by and through one or more of the Coilectors.

ALLEGATIONS APPLICABLE T() ALL COUNTS
A- .'!`..i!_§..D€_bt
3. The Plaintiff incurred a financial obligation in the approximate amount of$600.00
(the “Debt”) to Capitai One (the “Creditor”).
9. The Debt arose from services provided by the Creditor which Were primarily for
family, personal or household purposes and which meets the definition cfa “debt” under 15

U.s.C. § 16923(5).

10. The Debt was purchased, assigned or transferred to Associated for collection, or
Associated was employed by the Creditor to collect the Debt.
ll. The Defendants attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § l692a(2).

B. Associated Engages in Harassment and Abusive Tactics

12. The Defendants placed excessive calls to the Plaintiff, including calls on the

weekends and calls after 9:00 pm.

l3. The Defendants called the Piaintiff fourteen times per week.

Case 4:10-cv-10338-FDS Document 3 Filed 03/26/10 Page 3 of 7

14. During telephone calls the Defendants were extremely abusive and rude.
15. The Defendants are currently attempting to collect $900.00 from the Plaintiff,

having added fees to the original debt.

C. Plaintiff ngferetj Actual Damage_s

l6. ’ihe Plaintiff has suffered and continues to suffer actual damages as a result of the
Defendants’ unlawful conduct.

17. t As a direct consequence of the Defendants’ acts, practices and conduct, the
Plaintiff suffered and continues to suffer from humiliation, anger, anxiety, emotional distress,
fear, frustration and embarrassment

18. Fl`he Defendants’ conduct was so outrageous in character, and so extreme in
degree, as to go beyond all possibie bounds of decency, and to be regarded as atrocious, and

utterly intolerable in a civilized community.

COUNT l
VIOLATIONS OF THE FDCPA 15 U.S.C. 8 1692. et seq.

19. The Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully stated herein.

20. The Defendants’ conduct violated 15 U.S.C. § 1692c(a)(l) in that Defendants
contacted the Plaintiff at a place and during a time known to be inconvenient for the Plaintiff.

2l. The Defendants’ conduct violated 15 U.S.C. § l692c(a)(l) in that Defendants
contacted the Plaintiff before 8:00 a.m. and after 9:00 p.m.

22. The Defendants’ conduct violated 15 U.S.C. § l692d(5) in that Defendants caused
a phone to ring repeatedly and engaged the Plaintiff in telephone conversations, with the intent to

annoy and harass.

Case 4:10-cv-10338-FDS Document 3 Filed 03/26/10 Page 4 of 7

23. The foregoing acts and omissions of the Defendants constitute numerous and
multiple violations of the FDCPA, including every one of the above-cited provisions

24. The Plaintiff is entitled to damages as a result of Defendants’ violations

COUNT II
INVASION OF PRIVACY BY IN'I`RUSION UPON SECLUSION

25. The Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully stated herein.

26. The Restatement of Torts, Second, § 652(b) defines intrusion upon seclusion as,
“One who intentionally intrudes. . .upon the solitude or seclusion of another, or his private affairs
or concerns, is subject to liability to the other for invasion of privacy, if the intrusion would be
highly offensive to a reasonable person.”

27. Massachusetts further recognizes the Plaintifi’s right to be free from invasions of
privacy, thus Defendant violated Massachusetts state law.

28. The Defendant intentionally intruded upon Plaintiff's right to privacy by
continually harassing the Plaintiff through excessive phone calls including calls on the weekend
and late at night.

29. The telephone calls made by Defendant to the Plaintiff were so persistent and
repeated with such frequency as to be considered, “hounding the plaintiff,” and, “a substantial
burden to her existence,” thus satisfying the Restaternent of Torts, Second, § 652(b) requirement
for an invasion of privacy.

30. The conduct of the Defendant in engaging in the illegal collection activities
resulted in multiple invasions of privacy in such a way as would be considered highly offensive

to a reasonable person.

Case 4:10-cv-10338-FDS Document 3 Filed 03/26/10 Page 5 of 7

31. As a result of the intrusions and invasions, the Plaintiff is entitled to actual
damages in an amount to be determined at trial from Defendant.
32. All acts of Defendant and its agents were committed with malice, intent,

wantonness, and recklessness, and as such, Defendant is subject to punitive damages

Q<Mr_m
INTENTIONAL INFLICTION OF EM()TIONAL I)ISTRESS

33. The Plaintiff incorporates by reference all ofthe above paragraphs of this
Complaint as though fully set forth herein at length.

34. The acts, practices and conduct engaged in by the Defendants vis-a-vis the
Plaintiff was so outrageous in character, and so extreme in degree, as to go beyond all possible
bounds of decency, and to be regarded as atrocious, and utterly intolerable in a civilized
community

35. The foregoing conduct constitutes the tort of intentional infliction of emotional
distress under the laws of the State of Massachusetts.

36. All acts of Defendants and the Collectors complained of herein were committed
with maiice, intent, wantonness, and recklessness, and as such, Defendants are subject to

imposition of punitive damages

COUNT IV
COMMON LAW FRAUD

37. The Plaintiff incorporates by reference all of the above paragraphs of this
Complaint as though fully stated herein.
38. 'l`he acts, practices and conduct engaged in by the Defendants and complained of

herein constitute fraud under the Common Law of the State of Massachusetts.

Case 4:10-cv-10338-FDS Document 3 Filed 03/26/10 Page 6 of 7

39. The Plaintiff has suffered and continues to suffer actual damages as a result of the

foregoing acts and practices including damages associated with, among other things

humiliation, anger, anxiety, emotional distress fear, frustration and embarrassment caused by the

Defendants All acts of Defendants and the Collectors complained of herein were committed

with malice, intent, wantonness, and recklessness and as such, Defendants are subject to

punitive damages

PRAYER FOR RELIEF

WHEREFORE, the Plaintiff prays that judgment be entered against Defendants:

l.

2.

Actual damages pursuant to l5 U.S.C. § l692k(a)(l) against Defendants;
Statutory damages of $l ,000.00 for each violation pursuant to 15 U.S.C.
§1692k(a)(2)(A) against Defendants',

Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C. §
1692k(a)(3) against Defendants;

Double or treble damages plus reasonable attorney’s fees pursuant to M.G.L.
c. 93A § B(A);

Actual damages from Defendants for the all damages including emotional
distress suffered as a result of the intentional, reckless and/or negligent
FDCPA violations and intentional, reckless and/or negligent invasions of

privacy in an amount to be determined at trial for the Plaintiff;

Case 4:10-cv-10338-FDS Document 3 Filed 03/26/10 Page 7 of 7

6. Punitive damages; and
7. Such other and further relief as may be just and proper.

TRIAL BY .]URY DEMANDED ON ALL COUNTS

Dated: Marcli 16, 2010

Respectfully submitted,

By /s/ Sergei Lernberg

Sergei Lemberg (BBO# 650671)
LEMBERG & ASSOCIATES L.L.C.
i 100 Summer Street, 3rd Floor
Stamford, CT 06905

Telephone: (203) 653-2250
Facsimile: (877) 795~3666
Attorneys for Plaintiff

